     24-10193-cgb Doc#70 Filed 05/15/24 Entered 05/15/24 10:48:52 Ntc/Lft Stay Hrg BK
                                   (Bradley) Pg 1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                  Bankruptcy Case
                                                                                  24−10193−cgb
                                                                             No.:
                                                                     Chapter No.: 11
                                                                                  Christopher G
                                                                           Judge:
                                                                                  Bradley
IN RE: Wells Solar & Electrical Services LLC ,
Debtor(s)




                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   us−courts.webex.com/meet/Bradley

     on   6/18/24 at 10:30 AM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 69 Motion for Relief from Stay (14
     Day Objection Language) ( Filing Fee: $ 199.00 ) filed by Misty Ann Segura for Creditor EnFin Corp.
     Hearing Scheduled For 6/18/2024 at 10:30 AM at us−courts.webex.com/meet/Bradley. Any exhibits to be
     considered by the Court should be emailed to the law clerks and courtroom deputy 5 calendar days before the
     hearing by 4 p.m. (CT). Two hard copies of the exhibits, bound and tabbed, should also be sent to the
     Courtroom Deputy at Ronda Farrar, U.S. Bankruptcy Court, 903 San Jacinto Blvd., #322, Austin, TX 78701.
     (Farrar, Ronda) . A TIMELY−FILED RESPONSE TO THE MOTION IS NECESSARY FOR A
     HEARING TO BE HELD.....If a reset is requested and approved or an Agreed Order is submitted prior to
     the hearing, no appearance is required.


Dated: 5/15/24
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                     [Hearing Notice (BK)−HCM] [NtchrgBKhcmap]
